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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                      :     No. 3:18-cr-00048-VAB
                                              :
v.                                            :
                                              :
ROBERT MATTHEWS,                              :
LESLIE EVANS, and                             :
MARIA MATTHEWS                                :
                                              :
                   Defendants.                :     October __, 2018

                             SCHEDULING ORDER

      In accordance with the Local Criminal Rules and after consultation with

counsel for the government and counsel for the defendants, the Court hereby

ORDERS the following schedule for the filing of pretrial motions and the trial in

this case:

      Pretrial Motions                              November 30, 2018

      Responses Pretrial Motions                    December 21, 2018

      Replies to Responses to Pretrial Motions      January 11, 2018

      Hearing on Pretrial Motions                   January 25, 2019

      Government’s Initial Witness List             April 12, 2019

      Government’s Initial Exhibit List and
      Exhibits                                      April 12, 2019

      Defendants’ Initial Witness Lists             April 19, 2019

      Defendants’ Initial Exhibit Lists and
      Exhibits                                      April 19, 2019

      Motions in limine (both parties)              May 3, 2019

      Responses to motions in limine                May 17, 2019

      Replies to responses to motions in limine     May 24, 2019
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      Proposed Jury Instructions and Voir Dire
      Questions                                   June 7, 2019

      Hearing on motions in limine                June 7, 2019

      Pretrial Conference                         June 10, 2019

      Jury Selection                              June 14, 2019

      Trial                                       June 17, 2019


Dated: Bridgeport, Connecticut
       October ____, 2018



                                            ___________________________________
                                            THE HON. VICTOR A. BOLDEN
                                            UNITED STATES DISTRICT JUDGE




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